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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

     Plaintiff,

        v.                              Case No. 1:23-cv-09304

THE M/Y AMADEA, A MOTOR YACHT           The Honorable Dale E. Ho
BEARING INTERNATIONAL MARITIME
ORGANIZATION NO. 1012531,               ORAL ARGUMENT REQUESTED
INCLUDING ALL FIXTURES, FITTINGS,
MANUALS, STOCKS, STORES,
INVENTORIES, AND EACH LIFEBOAT,
TENDER, AND OTHER
APPURTENANCE THERETO,

     Defendant-In-Rem,

        and

EDUARD YURIEVICH KHUDAINATOV,
MILLEMARIN INVESTMENTS LTD.,

     Claimants.




                 CLAIMANTS’ MEMORANDUM OF LAW
   IN OPPOSITION TO PLAINTIFF’S MOTION FOR INTERLOCUTORY SALE


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         Claimants Eduard Yurievich Khudainatov and Millemarin Investments Ltd. (collectively,

“Claimants”) respectfully submit this memorandum of law in opposition to Plaintiff United States

of America’s motion for interlocutory sale pursuant to Rule G(7)(b)(i) of the Supplemental Rules

for Admiralty or Maritime Claims and Asset Forfeiture Actions (“the Supplemental Rules”).1

                                 PRELIMINARY STATEMENT

        An interlocutory sale is irreversible, and should only take place when the government

makes a sufficient showing warranting such a drastic action, and when the Court has ruled that the

government has set forth a legally cognizable claim for forfeiture. Neither has happened here.

Claimants have not identified a contested forfeiture case in this country where a court ruled on an

opposed motion for interlocutory sale prior to an answer being filed. And that makes sense.

Claimants argued in their original motion to dismiss—and intend to do so in their motion to dismiss

the amended complaint—that the government has failed to set forth a legally cognizable claim for

forfeiture of the Amadea. Claimants further argued—and intend to argue again—that at best,

accepting the allegations as true, the government has only set forth a claim for forfeiture of the

alleged vendor payments, i.e., $1.2 million, and not the Amadea itself valued at $300 million.

Importantly, Mr. Khudainatov is willing to put an amount sufficient to cover those payments in

the Court’s escrow account, obviating the need for a sale for what would surely be an outsized

amount. These issues must be decided before determining whether an interlocutory sale is

appropriate. Indeed, if the Court were to grant the motion for interlocutory sale and then

subsequently dismiss the forfeiture complaint, Claimant would be severely prejudiced as he would

lose his asset, despite prevailing in the case.




1
  The government’s memorandum of law in support of its motion for interlocutory sale will be
cited to herein as “U.S. Mem.”
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       Claimants have consistently offered to reimburse the government for the costs it has

incurred for maintaining the Amadea in exchange for its return. That offer stands. Maintaining the

Amadea is certainly expensive, and Claimants never intended for U.S. taxpayers to shoulder that

burden. But the wrongful decision to seize it was made by the government, knowing what the costs

to American taxpayers would entail.

       Even though the government’s motion is premature, the Court can deny it at this time on

the merits, as the government has failed to make a showing sufficient to justify such a dramatic

action. This motion is governed by Rule G(7)(b)(i) of the Supplemental Rules and—importantly—

it provides:

       On motion by a party or a person having custody of the property, the court may
       order all or part of the property sold if:

       (A)    the property is perishable or at risk of deterioration, decay, or injury by
       being detained in custody pending the action;

       (B)    the expense of keeping the property is excessive or is disproportionate to its
       fair market value;

       (C)     the property is subject to a mortgage or to taxes on which the owner is in
       default; or

       (D)     the court finds other good cause.

But the government only argues that a sale is warranted because the costs are excessive in a

vacuum, only a portion of subsection (B), and repackages that same argument by saying the

“excessive” costs provide “good cause” to warrant a sale under subsection (D). This is a paltry

showing for such a dramatic request.

       In addition, the government improperly parses subsection (B). The government here has

incorrectly stated that this factor has “an excessive” prong, which the government claims is

separate from the words at the end of that factor: “disproportionate to its fair market value.” Thus,




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the government claims that this Court may rule that the maintenance costs are “excessive” without

considering the value of the Amadea, or the normal and ordinary costs of maintaining a similar

vessel. But the government is incorrect, as Claimants are not aware of any case where a court

analyzed whether maintenance costs were “excessive” in a vacuum. On the contrary, courts have

considered the expenses in comparison to the ultimate value of the asset and/or what normal and

customary expenses are under similar circumstances. Just last year, the court in United States v.

Cabasso, No. 19-CR-582 (DRH) (E.D.N.Y. Apr. 6, 2021)2 denied an interlocutory sale based on

excessive costs because the government failed to provide an assessment of a vessel's fair market

value. The two cases the government relies on for the proposition that “excessive” can be

determined without comparing it to the ultimate value of the asset do not support that proposition—

nor anything remotely close. In one of those cases, the court’s decision was a minute entry on an

unopposed motion without any analysis whatsoever, and in the other the court did compare the

expenses versus the value and normal and customary expenses under similar circumstances. The

payments at issue here are not “excessive or disproportionate” when compared to the value of the

asset and what typical costs are for a vessel of this nature, as confirmed by an industry expert.

       Moreover, the government fails to satisfy the “good cause shown” prong. It argues that the

Court should “spare the Government and the public from bearing these costs.” This is not only a

simple restatement of its flawed primary argument, but it also fails to take into account that the

government affirmatively pursued the Amadea as part of the Administration’s policy to seize

superyachts of wealthy Russians, knowing full well of the costs that were required to maintain

such vessels during the pendency of the forfeiture action. The government had every opportunity




2
 A copy of this unpublished opinion is attached as Exhibit A to the Declaration of Adam C.
Ford. The Declaration of Adam C. Ford will be cited to herein as “Ford Decl.”

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to file a forfeiture action between June 2022 and October 23, 2023, which would have obviated

the need for the government to have spent $20 million in taxpayer dollars during that time. But it

made the decision not to—not on account of anything Claimants did or said. Instead, the

government waited nearly two years to complain about the costs it chose to spend.

       Claimants contend that the Court should deny Plaintiff’s motion for interlocutory sale on

the merits. However, if the Court is not inclined to do so, Claimants respectfully request that the

Court reserve decision on the government’s motion because it is premature, and any decision

should wait until after an answer is filed in this matter.

                                          BACKGROUND

       On March 2, 2022, President Biden instructed the Department of Justice (“DOJ”) to seize

the assets of wealthy Russians as part of his administration’s response to the Russian operations in

Ukraine. The DOJ quickly formed the Task Force KleptoCapture (the “Task Force”) to accomplish

this agenda. Within weeks, the Task Force targeted the Amadea and ultimately received a court-

authorized seizure warrant on April 13, 2022. In the application for that warrant, the government

asserted that the Amadea had “an annual running cost of between $25 million and $30 million.”3

During the contested litigation in Fiji, two affidavits were filed by counsel for Millemarin

Investments Ltd., one by one of the then captains of the Amadea, in which he detailed the Amadea's

technical aspects and described the Amadea as “a technically very complex mega yacht.” Ford

Decl. Exh. C ¶ 3. That captain also detailed the vessel’s annual budget ($12.76 million, which is

$1,150,000 monthly), and its monthly fixed and variable costs (totaling nearly $800,000 if the




3
 Ford Decl. Exh. B ¶ 46 (Affidavit in Support of an Application for a Seizure Warrant signed by
Timothy J. Bergen In the Matter of the Seizure of THE MOTOR YACHT AMADEA, WITH
INTERATIONAL MARITIME ORGANIZATION NUMBER 1012531, Case No. 22-sz-9 (“Bergen
Affidavit”)).

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vessel is at anchor all month and more than $1 million per month if the vessel is underway for a

certain number of days in that month). (Id. ¶ 5). The other affidavit was by one of the then-Chief

Engineers of the Amadea, in which he detailed the maintenance requirements for the Amadea.

Ford Decl. Exh. D.

       On May 5, 2022, the government issued a press release touting its seizure of a “$300

million yacht” referring to the Amadea.4 In the government’s Verified Complaint for Forfeiture

(“Compl.”) filed in this matter on October 23, 2023, the government alleged that the Amadea’s

value had “been reported as between $300 and $500 million.” Compl. ¶ 13. In its First Amended

Complaint (“Am. Compl.”) filed in this matter on February 16, 2024, the government alleged the

Amadea to be “$300 million or more.” Am. Compl. ¶ 12.

        Mr. Khudainatov commissioned the building of the Amadea in or about 2012. Mr.

Khudainatov paid €212,824,677 (today approximately $230 million) for the Amadea in multiple

installments between 2012 and 2017. During the Amadea’s construction, which took five years,

Mr. Khudainatov was heavily involved in the design process, and hand-selected many design

elements to reflect his personal vision and style, with an eye towards possibly selling the vessel.

Indeed, he personally commissioned the hull designer to make the albatross figurehead that adorns

the bow, unique to this vessel. The Amadea, a state-of-the-art one-of-a-kind superyacht, was

completed and delivered in 2017. Mr. Khudainatov built the Amadea not only to use it himself,

but also because of the prospect of making large profits from selling the vessel. As yachts of this

nature take several years to build, there was at the time a strong resale market for buyers who did




4
 $300 Million Yacht of Sanctioned Russian Oligarch Suleiman Kerimov Seized by Fiji at Request
of United States, U.S. DEP’T JUST. OFF. PUB. AFFS. (May 5, 2022),
https://www.justice.gov/opa/pr/300-million-yacht-sanctioned-russian-oligarch-suleiman-
kerimov-seized-fiji-request-united.

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not want to wait that long to own a new yacht. Mr. Khudainatov put the Amadea on the market in

2018, but due to its unique style and the Covid pandemic, it never sold. In addition, Mr.

Khudainatov received and rejected offers to buy the Amadea at prices he considered too low.

                                           ARGUMENT

       In a civil in rem forfeiture action, the moving party—here, the government—has the burden

of proof to show why the court should order the property sold. U.S. v. Approximately 81,454 Cans

of Baby Formula, 560 F.3d 638, 641 (7th Cir. 2009). This motion is governed by Rule G(7)(b)(i)

of the Supplemental Rules and provides four factors, set forth above that the Court is to consider

when deciding to order the property sold: (A) the property is perishable or at risk of deterioration,

decay, or injury by being detained in custody pending the action; (B) the expense of keeping the

property is excessive or is disproportionate to its fair market value; (C) the property is subject to a

mortgage or to taxes on which the owner is in default; or (D) the court finds other good cause.

       Even if the government makes a sufficient showing under the above factors, the Court is

not required to grant the sale. Indeed, the Court has “considerable discretion” in deciding whether

to grant or deny a motion for interlocutory sale, including which “factors to consider, and what

weight to give them.” 81,454 Cans of Baby Formula, 560 F.3d at 641–42.

I.     The Government’s Motion Fails on the Merits Because the Maintenance Costs are
       Not Excessive under Rule G, and the Government has Failed to Establish Other
       Good Cause Shown.

       The government has failed to make the required showing that an interlocutory sale should

be ordered. In its motion, the government seeks an interlocutory sale under subsection (B), but

misstates what that section provides. The government wrongfully argues that the maintenance

costs, in a vacuum, are “excessive” solely by virtue of the dollar amount at issue. Maintaining the

Amadea is expensive, but it is not excessive under Rule G. The government then makes the same




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argument under subsection (D)—that “there is good cause to spare the Government and the public

from bearing” the carrying costs for the Amadea. U.S. Mem. at 7. Finally, the government argues

that there is good cause to order a sale because Claimants have previously tried to sell the Amadea,

and thus would not be prejudiced by a sale. Id. at 7–8. For the reasons set forth below, the

government’s arguments fail legally and factually.

       A. Plaintiff Failed to Present the Required Facts to Determine Whether the Costs
          for Maintaining the Amadea are Excessive; but Nevertheless, the Costs are
          Demonstrably Not Excessive.

               1. Determining What is Excessive Requires a Comparison to What is Usual,
                  Proper, Necessary, or Normal or a Comparison to the Property’s Value.

       The government claims that “[u]nlike the ‘disproportionate’ prong of Rule G(7)(b)(i)(B),

the ‘excessive’ prong does not weigh the carrying costs against the value of the res.” Id. at 4 n.2.

And then it goes on to argue that the maintenance costs the government is paying for the Amadea

are excessive without comparing those costs to anything else. Id. at 4–7. This position is a

misinterpretation and misstatement of Rule G(7)(b)(i)(B) and the caselaw analyzing it. Subsection

(B) does not contain “an excessive prong” and a “disproportionate prong.” Rather, it contains a

subsection that requires a showing that it “is excessive or is disproportionate to its fair market

value” (emphasis added), consistent with rules of statutory construction, the definition of the word

“excessive,” and caselaw.

       Basic tenets of statutory construction compel this result. A canon of statutory construction

“provides that a modifier at the beginning or end of a series of terms modifies all the terms.” United

States v. Lockhart, 749 F.3d 148, 152 (2d Cir. 2014), aff'd, 577 U.S. 347 (2016) (internal citations

omitted). The series qualifier canon applies where “[t]he modifying clause appear[s] . . . at the end

of a single, integrated list,” and where the modifying clause “undeniably applies to at least

one antecedent, and . . . makes sense with all.” Id. (citing Jama v. Immigration & Customs



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Enforcement, 543 U.S. 335, 344 n. 4 (2005); United States v. Bass, 404 U.S. 336, 339–40 (1971)).

Subsection (B) provides “the expense of keeping the property is excessive or is disproportionate

to its fair market value.” Applying this rule demonstrates that “excessive” must be determined in

relation to “its fair market value” because the modifying clause “undeniably applies to at least one

antecedent and …makes sense with all.” Id.

       Rules, like statutes, must be read to make sense, id. at 154, and this is the only reading—

that “excessive” must be determined in relation to something else—that makes sense. The word

“excessive” is defined as “exceeding what is usual, proper, necessary, or normal.”5 Nothing is

objectively “excessive” standing alone. Indeed, this definition has been specifically held to apply

in the context of a request for an interlocutory sale. See Seacor Marine LLC v. FPC Sea Striker,

No. 8:14-cv-114-T-27TBM, 2014 WL 5018888, at *3 (M. D. Fla. Oct. 7, 2014) (finding that

claimants, who sought interlocutory sale, failed “to demonstrate that the expenses are excessive as

they offer no evidence of what is usual, proper, necessary, or normal” citing the definition above).6

       The government’s proposed interpretation, on the other hand, does not make sense, and is

inconsistent with the way courts have analyzed this subsection. The law makes plain that

“excessive” is not to be considered in a vacuum. Indeed, contrary to the government’s description

of the law, courts almost universally compare the cost of the maintenance to the asset’s assessed




5
   Excessive, Merriam-Webster, https://www.merriam-webster.com/dictionary/excessive (last
visited Feb. 14, 2024).
6
  This is a private admiralty case, brought under Supplemental Rule E(9)(a)—not Rule G. Rule
E(9)(a) lists similar factors for analyzing whether an interlocutory sale should be granted. Most of
the government’s cases relied on Rule E. But the government failed to bring to the Court’s attention
a key difference between Rule E and Rule G, which is that Rule E(9)(a)(i)(B) reads “the expense
of keeping the property is excessive or disproportionate” and does not contain the language that
appears at the end of the factor in Rule G “to its fair market value.” Even in private admiralty
cases, however, the courts analyze this factor to require a comparison of the costs to the value of
the property or to costs under comparable circumstances.

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value, even in the private admiralty context where the corresponding “excessive or

disproportionate” factor under Rule E does not include “to its fair market value” at the end.

       For example, the court in United States v. Cabasso, No. 19-CR-582 (DRH) at pp. 6–7,

denied an interlocutory sale based on excessive costs because the government failed to provide an

assessment of a vessel’s fair market value. Ford Decl. Exh. A. Courts outside New York have

come to the same conclusion. See United States v. Kumar, No. 4:17-CR-5-FL-1, 2018 WL

3025946, at *10 (E.D.N.C. June 1, 2018) (denying motion for interlocutory sale where government

sought to sell vessel for two-thirds of its appraised value, but the loss of one-third in value was

sufficient to cover maintenance costs for four years); see also Schoninger v. M/V THREE OLIVES,

No. CIV. 10-69-P-H, 2010 WL 1935855, at *4 (D. Me. May 10, 2010) (denying motion for

interlocutory sale where the vessel’s monthly charge constituted only 0.3 percent of the value of

the vessel, and even if ten months were to elapse and the total charges increased, those custodial

charges “would amount to only 3 percent of the vessel’s value” which “cannot be said as a matter

of law to be an excessive or disproportionate cost”); see also Adams Offshore, Ltd. v. Con-Dive,

LLC, No. CIV.A. 09-0378-WS-B, 2010 WL 433676, at *1 (S.D. Ala. Feb. 1, 2010) (denying

motion for interlocutory sale where the costs only constituted 2% of the property’s value); but see

John W. Stone Oil Distrib., L.L.C. v. M/V LUCY, No. CIV.A. 09-4440, 2009 WL 4166605 (E.D.

La. Nov. 20, 2009) (granting motion for interlocutory sale where total custodial expenses, which

were 55% of the vessel’s value, were excessive and disproportionate compared with total lien

amount); United States v. Guzman, No. 3:08-CR-00023-2, 2013 WL 12228400, at *2 (M.D. Tenn.

Oct. 7, 2013) (granting interlocutory sale where the maintenance costs exceeded the fair market

value of the vessel). The government failed to include any discussion of the Amadea’s value or

normal operating costs, which is fatal to its motion.




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       Nor is the government’s argument supported by the cases on which it relies. The

government states that the court in United States v. M/Y Galactica Star, No. 4:17-cv-02166 (S.D.

Tex. Mar. 20, 2019) ordered an “interlocutory sale based on ‘excessive’ costs without comparing

them to the value of the vessel,” but failed to disclose that the court’s order was contained in a

mere docket entry without any analysis. U.S. Mem. at 4 n.2. The government also fails to mention

that the motion for interlocutory sale of the Galactica Star was a joint motion by the government

and the claimant, and thus was unopposed. In response to the joint motion, the court issued a

minute entry order that appears on the docket sheet, and which contains no analysis whatsoever of

the factors at issue.7 But on the facts, it makes sense that the court there would find that the costs

of maintaining the vessel were excessive since both parties wanted it sold. Under those

circumstances, there is no reason not to order its sale. Thus, paying any amount could be excessive

because both parties wanted to sell it.

       The government also misplaces reliance on United States v. Woodland Dream, No. 5:13-

CV-279-JMH, 2013 WL 5775298, at *5 (E.D. Ky. Oct. 24, 2013) to support its proposition that

the Court can find the maintenance costs to be “excessive” without comparing the carrying costs

against the value of the res. U.S. Mem. at 4 n.2. That case was about a horse that had serious health

issues causing a rapid depreciation in her ultimate value, and also her maintenance costs which

“would definitely be higher than the average broodmare.” Woodland Dream, 2013 WL 5775298,

at *5. The court in Woodland Dream explicitly analyzed the horse’s specific maintenance costs

based on her health issues and compared it against her ultimate value that could be obtained at

sale: “This mare presents a substantial risk of deterioration based on her reproductive history, and




7
  Ford Decl. Exh. E, which is the relevant portion of the docket sheet for the Galactica Star case
that contains the March 20, 2019 minute entry.

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her specialized maintenance costs, which must eventually be paid, further decreasing her ultimate

value, are borderline excessive.” Id. at *5. In other words, even when moving under the

“excessive” prong, the court conducted an analysis that included comparing her maintenance costs

to the cost of a normal horse and her ultimate value. Also notable in Woodland Dream is that the

eventual order for interlocutory sale came after an evidentiary hearing. Id. at *3. Here, the

government did not even introduce evidence sufficient to warrant a hearing.

       Nor do the government’s other cases provide any legal support for an interlocutory sale in

this case, as none of them stands for the proposition that costs can simply be deemed excessive if

they reach a certain dollar amount in a vacuum. Indeed, they are all private causes of action seeking

to sell vessels in the context of foreclosures or to satisfy debts owed to the plaintiffs. U.S. Mem.

at 5. Specifically, the two other cases relied on by the government in support of its assertion that

courts have ordered interlocutory sales of vessels at a pre-determined price “based on ‘excessive’

carrying costs,” Id., involved unopposed motions for interlocutory sale, and where the parties

asserted that the costs were not only “excessive,” but also “disproportionate.” Glander Int’l

Bunkering Inc. v. M/V Teresa, et al., 586 F. Supp. 3d 189, 197-98 (E.D.N.Y. 2022) (ordering what

the parties requested, an interlocutory sale, where the parties agreed that the costs were “excessive

or disproportionate,” and that the vessels were “wasting assets subject to deterioration,” an

argument that the government does not make about the Amadea); Vineyard Bank v. M/Y Elizabeth

I, No. 08-CV-2044, 2009 WL 799304, at *2 (S.D. Cal. Mar. 23, 2009) (ordering interlocutory sale

that was unopposed because plaintiff claimed that the expenses were not only “excessive,” but also

“disproportionate.”). The courts in those cases considered the maintenance costs in relation to the

debts already owed to the plaintiffs as well as the value of the vessels, including deterioration and




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depreciation.8 Here, there is no allegation that there is any mortgage or lien on the vessel (nor is

there any). As such, there is no need to sell the vessel to pay any mortgage or other lien holder.

               2. The Government’s Motion Must be Denied Because the Government Has
                  Failed to Provide Facts Required to Evaluate Whether the Costs are
                  Excessive.

       The government fails to include facts that are required for the Court to order an

interlocutory sale. Courts have denied motions for interlocutory sale, where like here, the movant

fails to supply the court with evidentiary proof of value and ordinary costs. Here, the government

did not provide this Court with this information, leaving the Court without the ability to determine

whether the government’s costs are excessive in relation to anything else. This failure is fatal in

itself. See Cabasso, No. 19-CR-582, at pp. *6–*7; Seacor Marine, 2014 WL 5018888, at *3; E.N.

Visso & Son, Inc. v. One Twenty-two Foot Survey Boat, 1996 WL 715505, at *2 (E.D. La. Dec.

11, 1996) (denying interlocutory sale because plaintiff did not present evidence showing expense

of keeping boat was excessive or disproportionate to the value of the vessel); Triton Container

Int'l Ltd. v. Baltic Shipping Co., 1995 WL 217483, at *2 (E.D. La. Apr. 12, 1995) (denying

interlocutory sale, despite the parties consenting to the sale, because plaintiff did not inform the

court of the magnitude of the costs or value of the vessel leaving the court without the means to

evaluate whether the costs were excessive or disproportionate). The Court should deny the

government’s motion for interlocutory sale.




8
  See, e.g., Merchants Nat’l Bank of Mobile v. Dredge General G.L. Gillespie, 663 F.2d 1338,
1340–42 (5th Cir. 1981) (noting that costs had to come out of plaintiffs-lienors’ pockets “with
uncertain hope of reimbursement” in a foreclosure action on preferred ship mortgages where
plaintiffs sought interlocutory sale at the same time the vessels were physically arrested);
Waterfront Newport Beach LLC v. P/V Royal Princess, No. 8:20-CV-01420, 2021 WL 5862167,
at *2 (C.D. Cal. Aug. 18, 2021) (ordering interlocutory sale of vessel because plaintiff sued for
unpaid wharfage fees and those fees—and thus the debt owed plaintiff—would only continue to
accrue if the vessel was not sold).

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               3. The Costs Incurred by the Government are Not Excessive for a Vessel
                  Like the Amadea and When Compared to its Alleged Value.

       As demonstrated above, this Court can deny the government’s motion for interlocutory sale

based on its failure to supply this Court with the requisite facts to determine whether the costs are

excessive. Claimants can nevertheless demonstrate that the costs paid by the government to

maintain the Amadea, while admittedly substantial, are not excessive when compared to the

vessel’s value. In addition, the maintenance costs listed in the Crane Declaration are normal and

customary maintenance costs for a vessel of nature. Thus, the Court can deny the government’s

motion for these reasons as well.

       Last week, the government alleged that the Amadea—a 106-meter superyacht—is valued

at “roughly $300 million or more.” Am. Compl. ¶ 12. According to the government, it has spent

$14 million to date since June 2022 with another $6 million in payments coming due soon through

April 2024. See Declaration of Jennifer Crane. The costs of $20 million equates to a mere 6.6% of

the vessel’s value. Even if one divides those costs by the 22 months that they cover, they amount

to $909,090.91 per month, which amounts to .3% of the vessel’s value, that includes expenses for

a dry dock period. Under the government’s usual running costs figure of $600,000 per month, that

figure amounts to a mere .2% of the vessel’s value. Thus, the government’s running costs cannot

be said to be excessive relative to the value of the vessel, and this Court should deny the

government’s motion on this ground. See Schoninger, 2010 WL 1935855, at *4 (denying motion

for interlocutory sale even where maintenance would amount to “3 percent of the Vessel’s value”

because that “cannot be said as a matter of law to be an excessive or disproportionate cost”); Adams

Offshore, 2010 WL 433676, at *1 (denying motion for interlocutory sale where the costs only

constituted 2% of the property’s value).




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       In addition, the $600,000 the government claims to be spending monthly for the Amadea

is consistent with what is normal and customary for a vessel of its nature, and the government

knows this based on figures that they themselves asserted. The April 13, 2022 and April 22, 2022

Bergen Affidavits state that “[a]ccording to open-source reports, the AMADEA has an annual

running cost of between $25 and $30 million.” Ford Decl. Exh. B ¶ 46 and Exh. F ¶ 39. Agent

Bergen then listed expenses for fuel, crew and galley provisions, harbor, dockage, and inspection

fees, and garbage disposal as requisite expenses. Ford Decl. Exh. F ¶ 40. There is abundant publicly

available information stating that maintenance costs are typically 10% of a vessel’s value per year.9

Assuming the government’s valuation of $300 million, annual maintenance costs would equate to

$30 million, exactly as estimated in the Bergen Affidavit, or $2.5 million per month. Thus, by the

government’s own calculations, $600,000 per month should not be considered excessive.

       Finally, the categories of costs here are normal and ordinary for a vessel of this nature:

crew salaries, fuel, maintenance, crew food, and waste removal, just as Special Agent Bergen

stated. In addition, one of the then-captains of the Amadea, also submitted an affidavit in the Fiji

litigation (“Captain Affidavit”), in which he called the Amadea “a technically very complex mega

yacht” (¶ 3) and detailed the vessel’s annual budget ($12.76 million, which is $1,150,000 monthly),

and its monthly fixed and variable costs (totaling nearly $800,000 if the vessel is at anchor all

month and more than $1 million per month if the vessel is underway for a certain number of days

in that month). Ford Decl., Exh. C ¶ 5.




9
  For example, the following link contains a report that is often cited in news articles. Adam
Summersby, How Much Does a Super Yacht REALLY Cost?, TOWERGATE INS., Oct. 17, 2014,
https://www.towergateinsurance.co.uk/boat-insurance/the-cost-of-maintaining-a-super-yacht.

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       A comparison of the monthly costs detailed in the Captain Affidavit to the Declaration of

Jennifer Crane submitted in support of the government’s motion for interlocutory sale further

demonstrates that the government’s costs are not unexpected or excessive:

                      Crane Decl.     Captain Aff.

Crew Salary           $360,000        $422,600

Fuel                  $75,000         $127,200-$477,000

Other Expenses        $165,000        $223,268 (without insurance $135,000)

TOTAL:                $600,000        $773,068-$1,122,868 (without insurance $684,800-1,034,600)

As demonstrated above, the expenses incurred by the government are actually less than what would

typically be spent for the Amadea based on the government’s and the former captain’s figures.

       An expert in this industry agrees. As set forth in the attached Declaration of Tony Rossitto,

the expenditures set forth in the Crane Declaration are consistent with what is reasonable, normal,

and indeed necessary to maintain a vessel of this nature. For this reason and the reasons set forth

above, the Court should deny the government’s motion.

       B. The Government’s Repackaging of its Flawed “Excessive” Argument Fails to
          Show “Good Cause” for a Sale.

       The government has failed to demonstrate good cause for a sale. The government’s

argument on this point is a restatement of the flawed argument it made with respect to subsection

(B). The government sought out the Amadea, knowing full-well that a vessel like the Amadea

would be expensive to maintain. Indeed, the government estimated the annual running costs in the

Bergen Affidavit filed on April 13, 2022, as between $25 million to $30 million. The government

here can hardly claim surprise or hardship.

       In addition, the government waited almost two years to bring this motion for an

interlocutory sale, choosing not to file its forfeiture action until October 23, 2023. Indeed,



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according to the government, the only reason why the parties are litigating now is because

Claimants decided the parties had reached an impasse in connection with settlement discussions

on October 20, 2023. Had the Claimants not terminated the discussions when they did, the

government would have incurred even more costs. The government could have at any time

between its seizure in April 2022 and October 23, 2023 filed a forfeiture action sooner, but chose

not to do so. Thus, because of the government’s delay, the expenditure of these maintenance costs

is the “‘fault of the government,’” warranting denial of its motion. United States v. Maye, No. 08-

cr-00194-WMS-JJM, 2011 WL 2533020, at *1 (W.D.N.Y. June 24, 2011) (denying motion for

interlocutory sale, in part, because the expenditure of the costs was deemed to be the “‘fault of the

government’”) (quoting United States v. Esposito, 970 F.2d 1156, 1161 (2d Cir. 1992)).

        The government also claims under this prong that selling the vessel would not prejudice

Mr. Khudainatov because he had previously sought to sell the vessel. This is absurd. Mr.

Khudainatov wanted to sell the vessel himself to an individual he confirmed would be a good

owner and steward of his vessel, and he wanted to sell it for a premium price, consistent with the

time and attention he spent on designing and customizing the vessel, and not in a discounted

forfeiture sale. Thus, if the Court permits a sale at this time, and the government ultimately fails at

proving its entitlement to forfeiture of the Amadea, and Mr. Khudainatov prevails, he will stand

to lose this vessel altogether and receive less than its true value. This would certainly be prejudicial

and irreparable.

II.     The Motion for Interlocutory Sale is Premature.

        For the reasons set forth above, this Court should deny the government’s motion on the

merits. However, if the Court is not inclined to do so, Claimants respectfully request that the Court




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reserve any decision on this motion until after this Court decides whether the government has set

forth a legally cognizable claim for forfeiture of the Amadea before ordering a sale.

       An answer has not yet been filed in this case, and thus this Court has not yet determined

whether the government has set forth a legally cognizable basis to forfeit the Amadea.10 In their

motion to dismiss, Claimants raised serious questions as to the propriety of the government’s legal

theories, and argued that all of the government’s claims for forfeiture of the Amadea fail as a

matter of law. Claimants further argued that, accepting the government’s allegations as true (which

Claimants do not), at best, the government may be entitled to forfeit the alleged $1.2 million in

vendor payments that the government claims constituted sanctions violations. Claimants intend to

make these same arguments in their motion to dismiss the government’s amended complaint. The

threshold question of whether Plaintiff has set forth a legally cognizable basis to forfeit the Amadea

should be determined before the Court orders the vessel to be sold.




10
  Claimants are not aware of a forfeiture case where an interlocutory sale was ordered before an
answer was filed. The procedural posture of all of the cases cited by the government, and all of the
cases cited herein, are post-answer or default order.

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                                           CONCLUSION

        The government has failed to make its case for an interlocutory sale in this matter, and

instead came forward with paltry facts and a fatal misinterpretation of Rule G. The Court can deny

the government’s motion on that basis alone, but Claimants have demonstrated that nevertheless

there is nothing “excessive” about the payments the government has made to maintain the Amadea.

Indeed, the only thing excessive in this case is the government’s attempt to sell a vessel prior to a

determination that it has set forth a legally cognizable claim to forfeit that vessel, and based on

allegations that would at best entitle it to a mere $1.2 million. Claimants respectfully request that

this Court deny the government’s inadequate motion for interlocutory sale on the merits, or, to

reserve decision until after an answer is filed in this case.

Dated: February 23, 2024                           Respectfully submitted,

                                                   FORD O’BRIEN LANDY LLP

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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Claimants’ Memorandum of Law in Opposition to

Plaintiff’s Motion for Interlocutory Sale as well as the Declarations of Adam C. Ford and

Anthony Rossitto were served on all counsel of record via the Court’s CM/ECF system.



Dated: February 23, 2024

                                                    /s/ Adam C. Ford
                                                    Adam C. Ford




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